Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 1 of 85




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Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 2 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 3 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 4 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 5 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 6 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 7 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 8 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 9 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 10 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 11 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 12 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 13 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 14 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 15 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 16 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 17 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 18 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 19 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 20 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 21 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 22 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 23 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 24 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 25 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 26 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 27 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 28 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 29 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 30 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 31 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 32 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 33 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 34 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 35 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 36 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 37 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 38 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 39 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 40 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 41 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 42 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 43 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 44 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 45 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 46 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 47 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 48 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 49 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 50 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 51 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 52 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 53 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 54 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 55 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 56 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 57 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 58 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 59 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 60 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 61 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 62 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 63 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 64 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 65 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 66 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 67 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 68 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 69 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 70 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 71 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 72 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 73 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 74 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 75 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 76 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 77 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 78 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 79 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 80 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 81 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 82 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 83 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 84 of 85
Case 2:22-cv-00366-WBV-KWR Document 1-5 Filed 02/14/22 Page 85 of 85
